                     IN THE UNITED STATES DISTRICT COU RT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION
                            CASE NO: ________________


Southeast Crescent Shipping Company,
D/B/A Metro Ports,

                                 Plaintiff,   COMPLAINT
                     vs.

North Carolina State Ports Authority,


                                Defendant.
          Plaintiff Southeast Crescent Shipping Company d/b/a Metro Ports (“Plaintiff” or

     “Metro Ports”), by its attorneys, complains of Defendant North Carolina State Ports

     Authority (“Defendant” or “NCSPA”), upon information and belief, as follows:

                                 Parties and Jurisdiction

1.        This action concerns claims against NCSPA for breaches of lease agreements of

certain premises situated within the Port of Wilmington, in Wilmington North Carolina,

which Plaintiff rented to store cargo it handles for its customers. The Lease, inclusive of

amendments, is attached as Exhibit A. As a result of NCSPA’s breaches of the Lease,

certain cargo belonging to Plaintiff’s customer was damaged. This resulted in a claim by

Plaintiff’s customer against Plaintiff, which Plaintiff settled after NCSPA refused to

defend the claim, following Plaintiff’s tender of the claim’s defense to NCSPA. Plaintiff

now seeks indemnity from NCSPA because its breach of the Lease caused the damages to

Plaintiff’s customer’s cargo, and resulting damages to Plaintiff, for which NCSPA is

ultimately responsible.




            Case 7:22-cv-00067-FL       Document 1      Filed 04/26/22      Page 1 of 9
2.     Plaintiff is a Delaware corporation with a principal place of business in Long

Beach, California, authorized to conduct business in the state of North Carolina, and

which maintains a place of business in Wilmington, North Carolina. At all times relevant

hereto, Plaintiff or its predecessor was a party to the subject Lease agreement with

Defendant.

3.     NCSPA is an agency of the State of North Carolina, and operates the State Port at

Wilmington, North Carolina, where the subject leasehold lies.

4.     On information and belief, NCSPA is an agency of the State of North Carolina

organized and operating pursuant to N.C. Gen. Stat. §136-260, et seq., having a principal

office at 2202 Burnett Boulevard, Wilmington, New Hanover County, North Carolina.

5.     Under N.C. Gen. Stat. § 136-262 ( “Powers of Authority”), NCSPA is empowered

to, inter alia, “. . . sue and be sued, to make contracts, and to . . . rent, lease, buy, own,

acquire, mortgage, otherwise encumber, and dispose of such property, real or personal,

as said Authority [i.e., NCSPA] may deem proper to carry out the purposes . . [.]”

6.     NCSPA operates a maritime terminal at the Port of Wilmington, North Carolina

involved in the shipping of goods and cargo by ocean-going vessels, certain of which

facilities were leased to Plaintiff under the Lease.

7.     The acts and omission of NCSPA complained of herein occurred within the

Southern Division of the United States District Court for the Eastern District of North

Carolina.

8.     The subject Lease provides “the forum for resolution [of disputes] shall be the

Southern (Wilmington) Division of the Eastern District of the United States District Court

. . . [,]” making venue proper in this Court, evidencing NCSPA’s consent to its




                                               2
            Case 7:22-cv-00067-FL        Document 1       Filed 04/26/22      Page 2 of 9
jurisdiction and waiver of any sovereign immunity defense, if the same were otherwise

applicable.

9.        This action is brought by Plaintiff against a citizen of a different state, and the

amount in controversy exceeds $75,000, exclusive of interest and costs. Therefore, this

Court has diversity jurisdiction over this dispute pursuant to 28 U.S.C. § 1332.

                                               Facts

10.       The allegations in the paragraphs 1-9 above are re-alleged as if fully set forth

herein.

11.       At all material times, Plaintiff (or its predecessor) and Defendant were parties to a

lease which is the subject of this suit. The Original Lease (defined below) and all

amendments thereto (described below) are hereafter collectively referred to as the

“Lease.” (Exhibit A)

12.       The Lease was originally entered between Defendant and Cape Fear Bulk, LLC

(“CFB”) (Plaintiff’s predecessor) on 1 January 2005 (the “Original Lease”).

13.       On or about 31 January 2009, CFB merged with and into Plaintiff, with Plaintiff

being the surviving entity under governing law.

14.       On or about 1 July 2015, the Original Lease was amended (the “First

Amendment”).

15.       On or about 11 July 2018, the Original Lease was amended a second time (the

“Second Amendment”).

16.       On or about 6 December 2019, the Original Lease was amended a third time (the

“Third Amendment”).




                                                3
           Case 7:22-cv-00067-FL          Document 1        Filed 04/26/22      Page 3 of 9
17.     Under the Lease, Plaintiff rented warehouse C-1 (“C-1”) at the Port of

Wilmington from NCSPA.

18.     C-1 is an older, “big-box”-like, empty, cavernous warehouse used to store bulk

fertilizer cargo.

19.      Plaintiff sub-leased a portion of C-1 to one of its customers, Ben Trei Fertilizer

Company, LLC d/b/a Eurochem North America (“Eurochem”), for storage of

Eurochem’s pelletized fertilizer cargo. Plaintiff’s sub-lease contract with Eurochem is

attached hereto as Exhibit B.

20.     Several years prior to the loss complained of in this case, the roof of C-1 leaked

and damaged cargo of other customers, and Plaintiff made claims for this cargo damage

against NCSPA, which NCPSA settled.

21.     As part of one such settlement, the parties agreed to amend the Original Lease, (as

then already modified by the First Amendment), resulting in the “Second Amendment.”

Under the Second Amendment, the NCSPA would continue to be responsible for cargo

damage in C-1 until about $760,000 in certain “Roof Repairs and Replacements” were

completed by Plaintiff, or a certain date which was considered enough time for Plaintiff

to repair C-1’s roof and be reimbursed by the NCSPA.

22.     Plaintiff had begun roof repairs on C-1 when Hurricane Florence struck on

September 14, 2018, ripping off part of the roof and an entire wall of C-1, completely

halting Plaintiff’s repair efforts until the NCSPA’s insurance carrier could adjust a claim

for damages to C-1.

23.     The delay in Plaintiff being able to begin work on C-1 was not due to any fault of

Plaintiff.




                                              4
             Case 7:22-cv-00067-FL      Document 1      Filed 04/26/22      Page 4 of 9
24.    In accordance with the Lease, and due to Hurricane Florence, NCSPA, through its

authorized agent, declared “Force Majeure” under the Lease (Lease Art. 12), affecting

many contracts on or at the Port or Wilmington, including the Lease. (See Force Majeure

Declaration - Exhibit C).

25.    None of the cargo at issue in this case was present in C-1 when NCSPA declared

Force Majeure as a result Hurricane Florence.

26.    In its Force Majeure notice, Defendant admitted not only that this Force Majeure

declaration was related to “cargo,” and that it affected the duties of the parties under the

Second Amendment, but also that this would negatively affect Plaintiff’s ability to timely

finish the roof repairs as previously agreed. It said, for example,

       “Below is our force majeure statement for hurricane Florence as it relates to
       cargo . . . You know we have a new agreement relating to the maintenance of
       C1. Since the damage is covered under our insurance, plans have begun to
       repair the roof and walls. I believe Mark Blake may have relayed this to Chris
       P. We don't have a time line as yet, but this will be a top priority. We will keep
       you informed of the progress. This of course will have an effect on your work
       with the applying the roof coating, so future coordination will be needed.” Ex. C
       (emphasis added)


27.    Because NCSPA’s insurance carrier covered the repairs to C-1, NCSPA took

back over responsibility for roof repairs to C-1, and Plaintiff was prevented from

conducting the repairs according to the Lease. It took Defendant at least 6 months to

even begin work on the roof, during all of which time Plaintiff could not begin its own

work on the roof.

28.    Following Hurricane Florence and the NCSPA’s Force Majeure declaration,

NCSPA did not award a design-build contract for hurricane related repairs to C-1 until

May of 2019, and repairs to the North end of C-1 did not commence until August of 2019




                                              5
         Case 7:22-cv-00067-FL          Document 1        Filed 04/26/22     Page 5 of 9
– one year after Hurricane Florence. As of September of 2020, the roof panels (to be

reinstalled by NCSPA or its contractor) were still not in place in C-1, which prevented

Plaintiff from coating them and making C-1 fit to store cargo pursuant to the repair

agreement made in the Second Amendment.

29.    While C-1 was still undergoing repair, however, Metro Ports’ business had to

continue. Plaintiff’s sub-tenant tenant in C-1, Eurochem, began bringing its fertilizer into

C-1 in February of 2019 pursuant to Eurochem’s contract with Plaintiff.

30.    Due to NCSPA’s Force Majeure declaration, the NCSPA insisted that Metro Ports

refrain from beginning its contractually required roof repairs, and Metro Ports agreed to

this in consideration of NCSPA being allowed to perform its repairs on C-1 which were

covered by its insurer.

31.    NCSPA’s attempts at roof repairs for C-1 continued through 2019. July and

August of 2019 were very rainy. During this rainfall, water flooded heavily down

through defects in the roof system of C-1, which NCSPA had yet to finish repairing,

resulting in Eurochem’s cargo getting wet, suffering damage, losing value and ultimately

resulting in Eurochem’s claim against Plaintiff, which was settled and for which Plaintiff

now seeks indemnity, based on NCSPA’s failure to repair C-1’s roof.

32.    After discovering that Eurochem’s cargo got wet and damaged, Plaintiff had it

surveyed to determine the cause and source of water ingress, which such survey

determined was the damaged roof of C-1 that NCPSA failed to timely repair and which

Plaintiff was prevented from repairing by the NCSPA. The NCSPA was invited to attend

and participate in the survey discussed above but did not attend.




                                             6
         Case 7:22-cv-00067-FL         Document 1        Filed 04/26/22      Page 6 of 9
33.    Plaintiff’s customer, Eurochem, had some 11,000 tons of NK fertilizer cargo in C-

1 in July of 2019, and they claimed that all of it was damaged due to C-1’s leaky roof for

which Plaintiff was responsible under the sub-lease of C-1.

34.    Due to the damage, the cargo could not be easily sold, taking almost two years to

sell, at discounts of between $100 and $200/ton. Ultimately, Eurochem claimed

$1,800,000 in losses due to water damaged cargo stored in C-1.

35.    Plaintiff timely notified the NCSPA of Eurochem’s claim.

36.    Eurochem demanded arbitration under its sub-lease contract of C-1 with Plaintiff

but first requested mediation, which Plaintiff attended. Plaintiff notified NCSPA of the

mediation and invited it to attend to protect its interests, but the NCSPA refused to attend.

37.    At mediation, Eurochem produced the invoices to customers to prove its losses

against a credible showing of the fair market of the cargo (absent damage). Based

primarily on Plaintiff’s efforts to mitigate the claim, the claim was settled for USD

$900,000 on 7 May 2021.

38.    The NCSPA later denied responsibility for the damage to Eurochem’s cargo,

claiming that it had only assumed responsibility for cargo damage through 31 January

2019, under the Second Amendment, and not beyond.

39.    In various correspondence, however, the NCSPA admitted and confirmed that its

Force Majeure Declaration applied to the repairs to C-1’s roof (and therefore to relieve

the deadlines applicable to Plaintiff), stating that “responsibility . . . for the roof, roofing

system and maintenance of building C-1 as set forth in the Lease” did not transfer over to

Metro Ports in January of 2019 as originally planned, but was delayed until September




                                               7
          Case 7:22-cv-00067-FL          Document 1        Filed 04/26/22       Page 7 of 9
21, 2020, well after the rains which caused the cargo damage. Ex. D (9/24/18 email from

NCSPA to Plaintiff).

40.       Specifically, on September 18, 2020, Defendant’s Regional Director, Real Estate

& Planning and authorized agent wrote to Plaintiff that:

          Dave. Thank you for acknowledging that the C-1 roof repair, gutter, and
          down spout alterations and the north end rebuild have been completed.
          NCSPA agrees that, effective September 21, 2020, Southeast Crescent will
          assume responsibility, from NCSPA, for the roof, roofing system, and
          maintenance of building C-1 as set forth in the lease provisions for
          warehouse C-1, dated January 1, 2005, and as amended on July 11, 2018,
          excepting the ongoing column and A-frame repairs as described in
          Amendment #3. NCSPA agrees that Southeast Crescent does not have
          responsibility for (i) the maintenance and repair of the storm water
          drainage system at the leased area and (ii) the railroad tracks and roads at
          or around the leased area. Thanks Again, Stephanie (Ayers) (emphasis
          added). Ex. D.

41.       Based on the Second Amendment, as modified by the NCSPA Force Majeure

Declaration and confirmed by NCSPA in the email quoted above, Defendant is

responsible for cargo damage in C-1 during which Eurochem’s cargo was damaged.

42.       NCSPA is liable to indemnify Plaintiff for the $900,000 it was forced to pay to

settle it customer’s cargo damage claim.

43.       In addition to the $900,000 it paid to settle Eurochem’s cargo damage claim,

Plaintiff suffered other losses in the reconditioning of the damaged Eurochem cargo,

which resulted in a reduction of the claim it had to pay Eurochem which was initially

$1,800,000.00.

                  First Cause of Action – Breach of Contract by NCSPA


44.       The allegations in the paragraphs 1-43 above are re-alleged as if fully set forth

herein.




                                                8
           Case 7:22-cv-00067-FL          Document 1        Filed 04/26/22      Page 8 of 9
45.      The Lease entered into by Plaintiff and NCSPA is a binding contract.

46.      Defendant breached the Lease by failing to timely repair C-1’s roof, and

preventing Plaintiff from fixing the roof, which resulted in cargo damage claims being

asserted against Plaintiff, which Plaintiff was forced to settle and pay.

47.      Defendant is responsible to indemnify Plaintiff for $900,000 (i.e., the settlement

amount for the cargo loss paid to Eurochem) and such other damages as will be shown at

trial.

                                                PRAYER

         WHEREFORE, Plaintiff prays:

      a. That judgment be entered for Plaintiffs and against NCSPA in an amount in

         excess of $900,000.00, exclusive of interest and costs, plus pre-judgment and

         post-judgment interest, collection and recovery costs, attorneys’ fees, and other

         amounts as are or may become due and owing, plus such interest, fees and costs

         as allowed by law all as to be shown at trial.

      b. That this Honorable Court grant Plaintiffs such other and further relief as the

         Court may deem just and proper under the circumstances.

Dated: 26 April 2022

                                        CLARK, NEWTON & EVANS, P.A.
                                        Counsel for Plaintiff
                                        /s/ Don T. Evans, Jr.
                                        NC Bar No. 19003
                                        /s/ Seth P. Buskirk
                                        NC Bar No. 36664
                                        509 Princess St.
                                        Wilmington, North Carolina 28401
                                        Telephone: (910) 762-8743
                                        Facsimile: (910) 762-6206
                                        dte@clarknewton.com
                                        spb@clarknewton.com



                                                9
           Case 7:22-cv-00067-FL          Document 1       Filed 04/26/22     Page 9 of 9
